                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA




 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:09-cr-123
 v.                                                   )
                                                      )       COLLIER / LEE
 CAREY LYNN DAUGHERTY                                 )
                                                      )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the one hundred and

 twenty-three-count Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense

 of the charge in Count One, that is of conspiracy to manufacture, distribute and possess with intent

 to distribute fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate

 Defendant guilty of the lesser included offense of the charge in Count One, that is of conspiracy to

 manufacture, distribute and possess with intent to distribute fifty (50) grams or more of a mixture

 and substance containing a detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846,

 841(a)(1), and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter (Court

 File No. 185). Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Court File No. 185) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



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       (1)   Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture, distribute and possess with intent to distribute

             fifty (50) grams or more of a mixture and substance containing a detectable amount

             of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)

             is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture, distribute and possess with intent

             to distribute fifty (50) grams or more of a mixture and substance containing a

             detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1),

             and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, February 25, 2010 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:
                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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